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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Chicago Police Officer SHANNON SPALDING,                       )
Chicago Police Officer DANIEL ECHEVERRIA,                      )       Case No. 12-cv-8777
                                                               )
                 Plaintiffs,                                   )       Judge Gary Feinerman
                                                               )       Magistrate Judge Sheila Finnegan
                 v.                                            )
                                                               )
CITY OF CHICAGO, et al.,                                       )
                                                               )
                 Defendants.                                   )

    DEFENDANTS’ FIRST MOTION IN LIMINE TO BAR TESTIMONY, EVIDENCE
       OR ARGUMENT OF A SPECULATIVE POLICE “CODE OF SILENCE,”
                   “BLUE WALL” OR “THIN BLUE LINE”

         Defendants, City of Chicago (the “City”), Juan Rivera (“Rivera”), James O’Grady

(“O’Grady”), Nicholas Roti (“Roti”), Maurice Barnes (“Barnes”), Robert Cesario (“Cesario”),

Joseph Salemme (“Salemme”) and Thomas Mills (“Mills”) (referred to as the “Individual

Defendants”) (collectively “Defendants”) hereby move in limine to bar testimony, evidence or

argument of a speculative police “code of silence,” “blue wall,” or “thin blue line.” 1 In support

of this motion, Defendants state as follow:

         Defendants move to bar Plaintiffs from introducing any testimony, evidence, or argument

regarding a “code of silence,” “blue wall,” “thin blue line,” or that police officers generally lie,

conspire, cover up misconduct for other officers or fail to intervene in the misconduct of fellow

officers. Such evidence is not relevant to the jury's determination of credibility of the testimony

in this case and would only serve to prejudice Defendants.




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 Defendants have conferred with Plaintiffs regarding this motion in limine and have determined that the matter
upon which a ruling is sought is in dispute.



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         Evidence is admissible at trial only if it makes the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it would be

without the evidence. Fed. R. Evid. 401. Moreover, even relevant evidence should be excluded

where its prejudicial effect outweighs its probative value. Fed. R. Evid. 403. Generalized

allegations of a police “code of silence” or that police officers cover up for other police officers

are

         akin to the conclusion that all mechanics, when they have the opportunity, assess
         over-charges for unnecessary repair; that all politicians, when the public's back is
         turned, accept bribes; and that all taxpayers, when they think they can get away
         with it, cheat on their taxes—and no one ever tells. In a court of law, however
         justice is dispensed based on evidence of articulated and proven facts, not on
         generalized assumptions and prejudices.

Maldonado v. Stinar, 2010 WL 3075680, *4 (N.D. Ill. Aug. 5, 2010) (quoting Sanders v. City of

Indianapolis, 837 F. Supp. 959, 963 (S.D. Ind. 1992)). The sole purpose for the introduction of

this testimony is to invoke images in the minds of jurors that officers run amok to protect their

own like they have seen in many movies. The jury's decision, however, must be based upon

facts, not the speculation or rumination of witnesses regarding the general nature of police

officers. In that regard, this evidence is no different from inadmissible propensity or bad acts

evidence except that it is more illusory because it has no particular connection to the Individual

Defendants. Moreover,

         If [evidence of a police “code of silence”] were held admissible here, it
         logically would be admissible in every suit, civil or criminal, in which a
         police officer was alleged to be lying to support the testimony of a fellow
         police officer. Indeed, it would be admissible in every civil and criminal
         case in which even a single police officer testified.

Shaw v. City of New York, 1997 WL 187352 at *9 (S.D.N.Y Apr. 15, 1997) (excluding evidence

of code of silence). “[G]eneralized allegations—separate and apart from what may be true of the

officers named as Defendants here—are not helpful and are akin to inadmissible propensity



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evidence.” Ratliffe v. City of Chicago, 2012 WL 5845551, *4 (N.D. Ill. Nov. 19, 2012). This

Court should decline to open this type of generalized evidence whose only purpose is to unduly

prejudice Defendants.

         Further, even if general evidence of a police “code of silence” or “blue wall” was

somehow relevant to the matters at issue or the credibility of the testimony in this case (which it

is not), courts consistently have barred plaintiffs from using the terms “code of silence,” “blue

wall” and the like because those terms are far more prejudicial that probative. See Ratliffe, 2012

WL 5845551, *4 (barring “code of silence” and “blue wall” as unduly prejudicial); Cooper v.

Daley, 2012 WL 1748150, *4 (N.D. Ill. May 16, 2012); Hill v. City of Chicago, 2011 WL

3205304, *3 (N.D. Ill. July 28, 2011); Betts v. City of Chicago, 784 F. Supp. 2d 1020, 1029

(N.D. Ill. 2011) (barring evidence of a code of silence); Maldonado, 2010 WL 3075680, at *4

(barring reference to a general code of silence among police officers); Caldwell v. City of

Chicago, 2010 WL 380696, *3 (N.D. Ill. Jan. 28, 2010) (barring general evidence of a code of

silence as more prejudicial than probative); Redmond v. City of Chicago, et al, 14 cv 5482, Dkt.

#116, Feb. 8, 2016 (barring argument that there is a “code of silence” or “blue wall).

Accordingly, pursuant to Rules 401, 402, and 403, Plaintiffs should be barred from presenting at

trial any testimony, evidence, or argument that police officers in general lie, conspire, cover up,

or otherwise maintain a “code of silence” or “blue wall” to protect their fellow officers. Fed. R.

Evid. 401, 402, and 403.

         Defendants’ motion to bar Plaintiffs from presenting evidence or argument regarding a

general “code of silence” specifically includes any attempts by Plaintiffs to rely on a “code of

silence” concept to support the elements of any of Plaintiffs’ claims. For example, lacking

evidence that the Individual Defendants reached an agreement to deprive Plaintiffs of their




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constitutional rights, Plaintiffs argued in their response to Defendants’ summary judgment

motion that Plaintiffs’ § 1983 conspiracy claim can be established by evidence of alleged adverse

acts of Defendants “tied together by the glue of the Code of Silence.” (Dkt. #171, p. 19.) Such

an argument is highly prejudicial and misleading to the jury and should be barred.

         Nor should Plaintiffs be permitted to argue or introduce testimony that the City and the

Chicago Police Department have made a conscious decision to ignore an alleged code of silence

or that there is a lack of training related to the alleged code of silence from which a negative

inference should be drawn against Defendants. For the reasons explained above, inclusion of a

reference to a police code of silence is far more prejudicial than probative.

             Finally, Plaintiffs also should be barred from introducing evidence or arguments that

there is a widespread custom or practice in the City of an alleged code of silence or of retaliating

against officers who break the alleged code of silence. For the reasons explained in Defendants’

pending summary judgment motion, Plaintiffs’ allegation of a widespread custom or policy of

retaliating against officers that break the alleged code of silence is conclusory and unsupported

and falls far short of demonstrating a widespread custom or policy on which to base Monell

liability against the City. (Dkt. #175, pp. 10-11; Dkt. #165, pp. 24-26.) Among other reasons,

Plaintiffs have offered insufficient examples of alleged retaliation for breaking the alleged code

of silence to meet the minimum threshold for alleging a widespread custom or practice. See

Thomas v. Cook Cnty. Sherriff’s Dep’t, 604 F. 3d 293, 303 (7th Cir. 2010). Further, Plaintiffs’

so-called “code of silence” expert, Lou Reiter, offers no evidence of a widespread municipal

policy or custom of retaliating against officers who report other officers’ misconduct, nor have

Plaintiffs offered any statistical or comparable evidence that shows that the alleged code of

silence is tied to widespread retaliation against those who breach it. Accordingly, Plaintiffs




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should be barred from presenting any such speculative arguments, testimony or evidence there is

a widespread custom or practice in the City of retaliating against officers who break the alleged

code of silence, including the conclusions and testimony of Lou Reiter. 2

          Therefore, Defendants request that this Court enter an order barring Plaintiffs from (1)

using the terms “code of silence,” “blue wall,” or “thin blue line” as these terms are unduly

prejudicial; (2) introducing any testimony, evidence, or argument that Chicago Police Officers

generally lie conspire, cover up, or otherwise maintain a “code of silence” or “blue wall” to

cover up officer misconduct or fail to intervene in order to protect fellow offices; (3) introducing

any testimony, evidence or argument that the City of Chicago has made a conscious decision to

ignore an alleged code of silence or that there is a lack of training specifically addressing the

alleged code of silence from which a negative inference should be drawn against Defendants;

and (4) introducing testimony, evidence or arguments that there is a widespread custom or

practice in the City of an alleged code of silence or of retaliating against officers who break the

alleged code of silence, including the conclusions and testimony of Plaintiffs’ expert Lou Reiter.



Dated: April 15, 2016                                           Respectfully submitted,

                                                                CITY OF CHICAGO, JUAN RIVERA,
                                                                JAMES O’GRADY, NICHOLAS ROTI,
                                                                MAURICE BARNES, ROBERT
                                                                CESARIO, JOSEPH SALEMME, and
                                                                THOMAS MILLS

                                                               By: /s/ Alan S. King
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    Defendants have filed a separate Motion in Limine to bar the testimony of Lou Reiter.


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